                 Case 8-08-76065-ast             Doc 20    Filed 03/19/09   Entered 03/19/09 11:47:26


                                      United States Bankruptcy Court
                                           Eastern District of New York
                                        290 Federal Plaza, P.O. Box #9013
                                          Central Islip, NY 11722−9013

IN RE:                                                                      CASE NO: 8−08−76065−ast
    Anthony M. Snyder and Jennifer A.
    Snyder
    aka Michael A. Snyder
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer                              CHAPTER: 7
ID No.:
    xxx−xx−1541                                           xxx−xx−0699
                               DEBTOR(s)




                                               FINAL DECREE


The estate of the above named debtor(s) has been fully administered.




IT IS ORDERED THAT:



         • Kenneth Kirschenbaum (Trustee) is discharged as trustee of the estate of the above−named
           debtor(s).

         • The Chapter 7 case of the above−named debtor(s) is closed.


                                                                s/ Alan S. Trust
                                                                United States Bankruptcy Judge

 Dated: March 19, 2009




BLfnld7 [Final Decree rev 08/07/06]
